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                                                                                                        E-FILED
                                                                     Monday, 06 January, 2020 11:42:24 AM
                                                                              Clerk, U.S. District Court, ILCD

                               UNITED STATES DISTRICT COURT
                            FOR THE CENTRAL DISTRICT OF ILLINOIS

Dwight Long                                   )
                                              )
               Plaintiff,                     )
                                              )
       v.                                     )       19-CV-3195
                                              )
Martin et al                                  )
                                              )
               Defendants.                    )

                             HIPAA QUALIFIED PROTECTIVE ORDER

       During the course of this litigation, the parties may attempt to obtain protected health

information from a covered entity. Accordingly, the Court enters this qualified protective order

regarding the disclosure of protected health information. 45 C.F.R. § 164.512(e)(1)(v).

       This is not an order compelling the production of protected health information. The parties

are still required to seek that information through the lawful process applicable to discovery in any

civil case, such as through discovery requests, subpoena, and motions to compel. This order does

not relieve any party of complying with applicable notice requirements, see 45 C.F.R. §

164.512(e)(1)(ii)(A) & (iii).

IT IS THEREFORE ORDERED:

       1)      For purposes of this order, the terms “covered entity” and “protected health

information” are defined in 45 C.F.R. § 160.103.

       2)      This order applies to: a) any protected health information sought by a party to this

lawsuit from a covered entity pursuant to a subpoena, discovery request, or other lawful process,

45 C.F.R. § 164.512(e)(1)(ii); and, b) any protected health information for which this Court has

specifically ordered or authorized production, 45 C.F.R. § 164.512(e)(1)(i).



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       3)      Anyone receiving protected health information in connection with this litigation is

prohibited from using or disclosing said information for any purpose other than this litigation.

Authorized disclosure for purposes of this litigation includes, but is not limited to, disclosure to

the necessary persons for investigation, consultation, discovery, depositions, trial, appeal,

mediation, settlement, and insurance.

       4)      At the end of this litigation, the parties must either return all protected health

information to the covered entity or destroy the information. This litigation ends after judgment

has been entered in this case disposing of all claims and all appeals have been resolved, if any.

       5)      Protected health information will not be filed under seal, unless the Court grants a

motion to seal filed by a party. CDIL-LR 5.10.

ENTERED:       1/6/2020

FOR THE COURT:



                                                    s/Colin S. Bruce
                                            UNITED STATES DISTRICT JUDGE




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